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                  EXHIBIT D
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 3   MORRISON & FOERSTER LLP
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 4   San Francisco, California 94105-2482
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 5   Facsimile:    415.268.7522
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 9   Washington DC 20005
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10   Facsimile:   202.237.6131
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     srabin@SusmanGodfrey.com
13   SUSMAN GODFREY LLP
     1301 Avenue of the Americas, 32nd Floor
14   New York, NY 10019-6023

15   Attorneys for Defendants
     UBER TECHNOLOGIES, INC.
16   and OTTOMOTTO LLC

17                                UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19                                      SAN FRANCISCO DIVISION

20
21   WAYMO LLC,                                         Case No. 3:17-cv-00939-WHA

22                         Plaintiff,                   DEFENDANTS UBER TECHNOLOGIES,
                                                        INC. AND OTTOMOTTO LLC’S
23          v.                                          SUPPLEMENTAL INITIAL
                                                        DISCLOSURES
24   UBER TECHNOLOGIES, INC.,
     OTTOMOTTO LLC; OTTO TRUCKING                       Judge: Honorable William H. Alsup
25   LLC,
                                                        Trial Date: October 10, 2017
26                         Defendants.

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     DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
     Case No. 3:17-cv-00939-WHA
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 1                                    PRELIMINARY STATEMENT
 2          Pursuant to Federal Rules of Civil Procedure 26(a)(1), Defendants Uber Technologies,
 3   Inc. (“Uber”) and Ottomotto LLC (“Ottomotto”) (collectively, “Defendants”) hereby supplement
 4   their initial disclosures to Plaintiff Waymo LLC.
 5          Defendants provide these disclosures subject to and without waiving any applicable
 6   privilege, doctrine, or right, including without limitation the attorney-client privilege, the joint
 7   defense/common interest privilege, the work product doctrine, and all other rights and privileges
 8   recognized under the laws of the United States, the State of California, and all relevant
 9   jurisdictions. By these disclosures, Defendants do not concede the relevance or admissibility of
10   any particular information. Defendants make these disclosures based on information currently
11   available to them. Defendants reserve the right to amend or supplement these disclosures and to
12   present additional evidence to support their defenses with any filing or during any proceeding in
13   this action, including trial, in accordance with the Court’s Case Management Order (Dkt. 562).
14          A.      INDIVIDUALS LIKELY TO HAVE DISCOVERABLE INFORMATION
                    [Fed. R. Civ. P. 26(a)(1)(A)(i)]
15
16          Defendants identify the following individuals who may have discoverable information
17   that Defendants may use to support their defenses in this case. Waymo 1 should contact any
18   current or former employee, agent, or other representative of Defendants only through

19   Defendants’ counsel of record, unless otherwise specified. Additionally, individuals described as
20   having knowledge of the “Stroz due diligence for the Uber/Ottomotto acquisition” are noted with
21   an asterisk (*) because these individuals would be used to support Defendants’ defenses in this
22   case, or would testify about that subject, if and only if that subject is found not to be privileged.
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             “Waymo” refers to Waymo LLC (previously Project Chauffeur), Google Inc., and
     Alphabet Inc.
28
     DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1          Persons                           Address                             Knowledge
 2    Travis Kalanick        [Contact through counsel of record]         Defendants’ business model
                                                                         and strategy for autonomous
 3                           Uber Technologies, Inc.                     vehicles; Defendants’ non-
                                                                         misappropriation of
 4                           1455 Market Street, Floor 4                 Waymo’s trade secrets;
                             San Francisco, CA 94103                     Uber’s decision to acquire
 5                                                                       Ottomotto; steps taken by
                                                                         Defendants to prevent trade
 6                                                                       secrets from prior employers
                                                                         coming to Defendants;
 7                                                                       Defendants’ autonomous
                                                                         vehicle program;
 8                                                                       March 11, 2016 meeting
                                                                         with Anthony Levandowski;
 9                                                                       knowledge of Waymo’s
                                                                         discussions with Defendants
10                                                                       regarding a partnership with
                                                                         Defendants in the self-
11                                                                       driving vehicle/ride-sharing
                                                                         space; Defendants’
12                                                                       employment of Anthony
                                                                         Levandowski; Defendants’
13                                                                       termination of Anthony
                                                                         Levandowski
14    Jeff Holden            [Contact through counsel of record]         Defendants’ business model
                                                                         and strategy for autonomous
15                                                                       vehicles; Defendants’
                             Uber Technologies, Inc.
                                                                         autonomous vehicle
16                           1455 Market Street, Floor 4                 program; Uber’s decision to
                             San Francisco, CA 94103                     acquire Ottomotto;
17                                                                       confirmation of the absence
                                                                         of evidence of trade secret
18                                                                       misappropriation through
                                                                         and during compliance with
19                                                                       the Court’s provisional
                                                                         remedy order
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     DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1          Persons                           Address                             Knowledge
 2    Anthony                Contact Mr. Levandowski’s counsel:          Nature of employment at
      Levandowski                                                        Waymo and Defendants;
 3                           Ismail Ramsey or Miles Ehrlich              design and development of
                                                                         Defendants’ LiDAR;
 4                           Ramsey & Ehrlich LLP                        Defendants’ autonomous
                             803 Hearst Avenue                           vehicle program;
 5                           Berkeley, CA 94710                          Defendants’ non-
                                                                         misappropriation of
 6                                                                       Waymo’s trade secrets; the
                                                                         inventions disclosed and
 7                                                                       claimed in the ’922 and
                                                                         ’464 patents, including
 8                                                                       conception and reduction to
                                                                         practice; the preparation and
 9                                                                       filing of the ’922 and
                                                                         ’464 patents; business of
10                                                                       Otto Trucking LLC;
                                                                         knowledge of Odin
11                                                                       Wave LLC and Tyto
                                                                         LiDAR LLC; Waymo’s
12                                                                       employee policies
                                                                         concerning confidential and
13                                                                       trade secret information,
                                                                         including with respect to
14                                                                       hardware; knowledge of the
                                                                         Project Chauffeur bonus
15                                                                       program; March 11, 2016
                                                                         meeting with Anthony
16                                                                       Levandowski; Stroz due
                                                                         diligence for the
17                                                                       Uber/Ottomotto acquisition*
      Radu Raduta            Contact Mr. Raduta’s counsel:               Nature of employment at
18                                                                       Waymo and Defendants;
                             Mary McNamara                               Defendants’ non-
19                                                                       misappropriation of
                             Swanson & McNamara LLP                      Waymo’s trade secrets
20                           300 Montgomery Street, Suite 1100
21                           San Francisco, CA 94104
                             Phone: (415) 477-3800
22                           Fax: (415) 477-9010
                             Email: mary@smllp.law
23
24
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     DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
     Case No. 3:17-cv-00939-WHA
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 1          Persons                           Address                             Knowledge
 2    Sameer Kshirsagar      Contact Mr. Kshirsagar’s counsel:           Nature of employment at
                                                                         Waymo and Defendants;
 3                           Mark Punzalan                               Defendants’ non-
                                                                         misappropriation of
 4                           Punzalan Law, P.C.                          Waymo’s trade secrets
                             600 Allerton Street, Suite 201
 5                           Redwood City, CA 94063
                             Phone: (650) 481-8112
 6
                             Fax: (650) 362-4151
 7                           Email: markp@punzalanlaw.com
      James Haslim           [Contact through counsel of record]         Design and development of
 8                                                                       Defendants’ LiDAR;
                             Uber Technologies, Inc.                     Defendants’ non-
 9                                                                       misappropriation of
                             1455 Market Street, Floor 4                 Waymo’s trade secrets;
10                           San Francisco, CA 94103                     knowledge of Odin
                                                                         Wave LLC and Tyto
11                                                                       LiDAR LLC; confirmation
                                                                         of the absence of evidence of
12                                                                       trade secret misappropriation
                                                                         through and during
13                                                                       compliance with the Court’s
                                                                         provisional remedy order
14
      Adam Kenvarg           [Contact through counsel of record]         Design and development of
15                                                                       Defendants’ LiDAR;
                             Uber Technologies, Inc.                     Defendants’ non-
16                                                                       misappropriation of
                             1455 Market Street, Floor 4                 Waymo’s trade secrets;
17                           San Francisco, CA 94103                     confirmation of the absence
                                                                         of evidence of trade secret
18                                                                       misappropriation through
                                                                         and during compliance with
19                                                                       the Court’s provisional
                                                                         remedy order; inspection
20                                                                       pursuant to the Court’s
                                                                         provisional remedy order
21    William Treichler      [Contact through counsel of record]         Design and development of
                                                                         Defendants’ LiDAR;
22                                                                       Defendants’ non-
                             Uber Technologies, Inc.
                                                                         misappropriation of
23                           1455 Market Street, Floor 4                 Waymo’s trade secrets;
                             San Francisco, CA 94103                     confirmation of the absence
24                                                                       of evidence of trade secret
                                                                         misappropriation through
25                                                                       and during compliance with
                                                                         the Court’s provisional
26                                                                       remedy order
27
28
     DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1          Persons                           Address                             Knowledge
 2    Florin Ignatescu       [Contact through counsel of record]         Design and development of
                                                                         Defendants’ LiDAR;
 3                           Uber Technologies, Inc.                     Defendants’ non-
                                                                         misappropriation of
 4                           1455 Market Street, Floor 4                 Waymo’s trade secrets;
                             San Francisco, CA 94103                     confirmation of the absence
 5                                                                       of evidence of trade secret
                                                                         misappropriation through
 6                                                                       and during compliance with
                                                                         the Court’s provisional
 7                                                                       remedy order
      Gaetan Pennecot        [Contact through counsel of record]         Design and development of
 8                                                                       Defendants’ LiDAR;
                             Uber Technologies, Inc.                     Defendants’
 9                                                                       non-misappropriation of
                             1455 Market Street, Floor 4                 Waymo’s trade secrets; the
10                           San Francisco, CA 94103                     inventions disclosed and
                                                                         claimed in the ’922 and
11                                                                       ’464 patents, including
                                                                         conception and reduction to
12                                                                       practice; the preparation and
                                                                         filing of the ’922 and
13                                                                       ’464 patents; nature of
                                                                         employment at Waymo;
14                                                                       Waymo’s employee policies
                                                                         concerning confidential and
15                                                                       trade secret information,
                                                                         including with respect to
16                                                                       hardware; knowledge of the
                                                                         Project Chauffeur bonus
17                                                                       program; confirmation of the
                                                                         absence of evidence of trade
18                                                                       secret misappropriation
                                                                         through and during
19                                                                       compliance with the Court’s
                                                                         provisional remedy order
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     DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1          Persons                           Address                             Knowledge
 2    Daniel Gruver          [Contact through counsel of record]         Design and development of
                                                                         Defendants’ LiDAR;
 3                           Uber Technologies, Inc.                     Defendants’ non-
                                                                         misappropriation of
 4                           1455 Market Street, Floor 4                 Waymo’s trade secrets; the
                             San Francisco, CA 94103                     inventions disclosed and
 5                                                                       claimed in the ’922 and
                                                                         ’464 patents, including
 6                                                                       conception and reduction to
                                                                         practice; the preparation and
 7                                                                       filing of the ’922 and
                                                                         ’464 patents; nature of
 8                                                                       employment at Waymo;
                                                                         Waymo’s employee policies
 9                                                                       concerning confidential and
                                                                         trade secret information,
10                                                                       including with respect to
                                                                         hardware; knowledge of the
11                                                                       Project Chauffeur bonus
                                                                         program; confirmation of the
12                                                                       absence of evidence of trade
                                                                         secret misappropriation
13                                                                       through and during
                                                                         compliance with the Court’s
14                                                                       provisional remedy order
      Scott Boehmke          [Contact through counsel of record]         Design and development of
15                                                                       Defendants’ LiDAR;
                             Uber Technologies, Inc.                     Defendants’ non-
16                                                                       misappropriation of
                             Advanced Technologies Center                Waymo’s trade secrets;
17                           100 32nd St, Pittsburgh, PA 15201           inspection pursuant to the
                                                                         Court’s provisional remedy
18                                                                       order; confirmation of the
                                                                         absence of evidence of trade
19                                                                       secret misappropriation
                                                                         through and during
20                                                                       compliance with the Court’s
                                                                         provisional remedy order
21
      Jim Gasbarro           [Contact through counsel of record]         Design and development of
22                                                                       Defendants’ LiDAR;
                             Uber Technologies, Inc.                     Defendants’ non-
23                                                                       misappropriation of
                             Advanced Technologies Center                Waymo’s trade secrets;
24                           100 32nd St, Pittsburgh, PA 15201           confirmation of the absence
                                                                         of evidence of trade secret
25                                                                       misappropriation through
                                                                         and during compliance with
26                                                                       the Court’s provisional
                                                                         remedy order
27
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     DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1          Persons                           Address                             Knowledge
 2    Robert Doll            [Contact through counsel of record]         Design and development of
                                                                         Defendants’ LiDAR;
 3                           Uber Technologies, Inc.                     Defendants’ non-
                                                                         misappropriation of
 4                           Advanced Technologies Center                Waymo’s trade secrets;
                             100 32nd St, Pittsburgh, PA 15201           confirmation of the absence
 5                                                                       of evidence of trade secret
                                                                         misappropriation through
 6                                                                       and during compliance with
                                                                         the Court’s provisional
 7                                                                       remedy order
      Eric Meyhofer          [Contact through counsel of record]         Design and development of
 8                                                                       Defendants’ LiDAR;
                             Uber Technologies, Inc.                     Defendants’ autonomous
 9                                                                       vehicle program;
                             Advanced Technologies Center                Defendants’ non-
10                           100 32nd St, Pittsburgh, PA 15201           misappropriation of
                                                                         Waymo’s trade secrets;
11                                                                       Defendants’ business model
                                                                         and strategy for autonomous
12                                                                       vehicles; Uber’s decision to
                                                                         acquire Ottomotto;
13                                                                       termination of Anthony
                                                                         Levandowski; confirmation
14                                                                       of the absence of evidence of
                                                                         trade secret misappropriation
15                                                                       through and during
                                                                         compliance with the Court’s
16                                                                       provisional remedy order;
                                                                         steps taken by Defendants to
17                                                                       prevent trade secrets from
                                                                         prior employers of
18                                                                       Defendants’ employees
                                                                         coming to Defendants
19
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     DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     John Bares             [Contact through counsel of record]         Design and development of
                                                                          Defendants’ LiDAR;
 3                            Uber Technologies, Inc.                     Defendants’ autonomous
                                                                          vehicle program;
 4                            Advanced Technologies Center                Defendants’ non-
                              100 32nd St, Pittsburgh, PA 15201           misappropriation of
 5                                                                        Waymo’s trade secrets;
                                                                          Defendants’ business model
 6                                                                        and strategy for autonomous
                                                                          vehicles; Uber’s decision to
 7                                                                        acquire Ottomotto; steps
                                                                          taken by Defendants to
 8                                                                        prevent trade secrets from
                                                                          prior employers of
 9                                                                        Defendants’ employees
                                                                          coming to Defendants;
10                                                                        confirmation of the absence
                                                                          of evidence of trade secret
11                                                                        misappropriation through
                                                                          and during compliance with
12                                                                        the Court’s provisional
                                                                          remedy order
13     Asheem Linaval         [Contact through counsel of record]         Design and development of
                                                                          Defendants’ LiDAR;
14                                                                        Defendants’ non-
                              Uber Technologies, Inc.
                                                                          misappropriation of
15                            1455 Market Street, Floor 4                 Waymo’s trade secrets;
                              San Francisco, CA 94103                     Waymo’s policies as it
16                                                                        relates to contractors
                                                                          concerning confidential and
17                                                                        trade secret information;
                                                                          confirmation of the absence
18                                                                        of evidence of trade secret
                                                                          misappropriation through
19                                                                        and during compliance with
                                                                          the Court’s provisional
20                                                                        remedy order
21     Michael Karasoff       [Contact through counsel of record]         Design and development of
                                                                          Defendants’ LiDAR;
22                            Uber Technologies, Inc.                     Defendants’ non-
                                                                          misappropriation of
23                            1455 Market Street, Floor 4                 Waymo’s trade secrets;
                              San Francisco, CA 94103                     knowledge of Odin
24                                                                        Wave LLC and Tyto
                                                                          LiDAR LLC; confirmation
25                                                                        of the absence of evidence of
                                                                          trade secret misappropriation
26                                                                        through and during
                                                                          compliance with the Court’s
27                                                                        provisional remedy order

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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Matthew Palomar        [Contact through counsel of record]         Design and development of
                                                                          Defendants’ LiDAR;
 3                            Uber Technologies, Inc.                     Defendants’ non-
                                                                          misappropriation of
 4                            1455 Market Street, Floor 4                 Waymo’s trade secrets;
                              San Francisco, CA 94103                     confirmation of the absence
 5                                                                        of evidence of trade secret
                                                                          misappropriation through
 6                                                                        and during compliance with
                                                                          the Court’s provisional
 7                                                                        remedy order
       Daniel Ratner          [Contact through counsel of record]         Design and development of
 8                                                                        Defendants’ LiDAR;
                              Uber Technologies, Inc.                     Defendants’ non-
 9                                                                        misappropriation of
                              1455 Market Street, Floor 4                 Waymo’s trade secrets;
10                            San Francisco, CA 94103                     confirmation of the absence
                                                                          of evidence of trade secret
11                                                                        misappropriation through
                                                                          and during compliance with
12                                                                        the Court’s provisional
                                                                          remedy order
13
       Max Levandowski        [Contact through counsel of record]         Design and development of
14                                                                        Defendants’ LiDAR;
                              Uber Technologies, Inc.                     Defendants’ non-
15                                                                        misappropriation of
                              1455 Market Street, Floor 4                 Waymo’s trade secrets;
16                            San Francisco, CA 94103                     confirmation of the absence
                                                                          of evidence of trade secret
17                                                                        misappropriation through
                                                                          and during compliance with
18                                                                        the Court’s provisional
                                                                          remedy order
19     George Lagui           [Contact through counsel of record]         Design and development of
                                                                          Defendants’ LiDAR;
20                                                                        Defendants’ non-
                              Uber Technologies, Inc.
                                                                          misappropriation of
21                            1455 Market Street, Floor 4                 Waymo’s trade secrets;
                              San Francisco, CA 94103                     confirmation of the absence
22                                                                        of evidence of trade secret
                                                                          misappropriation through
23                                                                        and during compliance with
                                                                          the Court’s provisional
24                                                                        remedy order
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Lior Ron               [Contact through counsel of record]         Nature of employment at
                                                                          Waymo and Defendants;
 3                            Uber Technologies, Inc.                     Anthony Levandowski’s
                                                                          departure from Waymo;
 4                            1455 Market Street, Floor 4                 Waymo’s policies
                              San Francisco, CA 94103                     surrounding side projects and
 5                                                                        side businesses; knowledge
                                                                          of Waymo employee
 6                                                                        involvement in side projects
                                                                          and side businesses,
 7                                                                        including that of Anthony
                                                                          Levandowski; knowledge of
 8                                                                        the Project Chauffeur bonus
                                                                          program; steps taken by
 9                                                                        Defendants to prevent trade
                                                                          secrets from prior employers
10                                                                        of Defendants’ employees
                                                                          coming to Defendants;
11                                                                        Defendants’ non-
                                                                          misappropriation of
12                                                                        Waymo’s trade secrets;
                                                                          formation, purpose, and
13                                                                        business of Otto
                                                                          Trucking LLC; formation,
14                                                                        purpose, and business of
                                                                          Ottomotto; Ottomotto’s
15                                                                        decision to be acquired by
                                                                          Uber; March 11, 2016
16                                                                        meeting with Anthony
                                                                          Levandowski; Stroz due
17                                                                        diligence for the
                                                                          Uber/Ottomotto acquisition*;
18                                                                        confirmation of the absence
                                                                          of evidence of trade secret
19                                                                        misappropriation through
                                                                          and during compliance with
20                                                                        the Court’s provisional
                                                                          remedy order;; design and
21                                                                        development of Ottomotto’s
                                                                          LiDAR;
22     Brent Schwarz          [Contact through counsel of record]         Defendants’ non-
                                                                          misappropriation of
23                                                                        Waymo’s trade secrets;
                              Uber Technologies, Inc.
                                                                          knowledge of Odin Wave
24                            1455 Market Street, Floor 4                 LLC and Tyto LiDAR LLC;
                              San Francisco, CA 94103                     confirmation of the absence
25                                                                        of evidence of trade secret
                                                                          misappropriation through
26                                                                        and during compliance with
                                                                          the Court’s provisional
27                                                                        remedy order
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Cameron Poetzscher     [Contact through counsel of record]         Defendants’ non-
                                                                          misappropriation of
 3                            Uber Technologies, Inc.                     Waymo’s trade secrets;
                                                                          business of Otto
 4                            1455 Market Street, Floor 4                 Trucking LLC; Uber’s
                              San Francisco, CA 94103                     decision to acquire
 5                                                                        Ottomotto; Uber’s
                                                                          indemnification agreement
 6                                                                        with Ottomotto; Uber’s
                                                                          meetings with Anthony
                                                                          meeting
 7                                                                        Levandowski, Ottomotto
                                                                          and/or Otto Trucking before
 8                                                                        April 11, 2016; Stroz due
                                                                          diligence for the
 9                                                                        Uber/Ottomotto acquisition*;
                                                                          confirmation of the absence
10                                                                        of evidence of trade secret
                                                                          misappropriation through
11                                                                        and during compliance with
                                                                          the Court’s provisional
12                                                                        remedy order
       Nina Qi                [Contact through counsel of record]         Defendants’ non-
13                                                                        misappropriation of
                              Uber Technologies, Inc.                     Waymo’s trade secrets;
14                                                                        business of Otto
                              1455 Market Street, Floor 4                 Trucking LLC; Uber’s
15                            San Francisco, CA 94103                     decision to acquire
                                                                          Ottomotto; March 11, 2016
16                                                                        meeting with Anthony
                                                                          Levandowski; confirmation
17                                                                        of the absence of evidence of
                                                                          trade secret misappropriation
18                                                                        through and during
                                                                          compliance with the Court’s
19                                                                        provisional remedy order
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Adam Bentley           [Contact through counsel of record]         Formation, purpose, and
                                                                          business of Otto
 3                            Uber Technologies, Inc.                     Trucking LLC; formation,
                                                                          purpose, and business of
 4                            1455 Market Street, Floor 4                 Ottomotto; Ottomotto’s
                              San Francisco, CA 94103                     decision to be acquired by
 5                                                                        Defendants and structure of
                                                                          the acquisition; knowledge
 6                                                                        of Odin Wave LLC and Tyto
                                                                          LiDAR LLC; submissions to
 7                                                                        the Nevada Department of
                                                                          Motor Vehicles; Stroz due
 8                                                                        diligence for the
                                                                          Uber/Ottomotto acquisition*;
 9                                                                        confirmation of the absence
                                                                          of evidence of trade secret
10                                                                        misappropriation through
                                                                          and during compliance with
11                                                                        the Court’s provisional
                                                                          remedy order
12     Ognen Stojanovski      [Contact through counsel of record]         Knowledge of Odin
                                                                          Wave LLC, Tyto
13                                                                        LiDAR LLC, and Sandstone
                              Uber Technologies, Inc.
                                                                          Group LLC; confirmation of
14                            1455 Market Street, Floor 4                 the absence of evidence of
                              San Francisco, CA 94103                     trade secret misappropriation
15                                                                        through and during
                                                                          compliance with the Court’s
16                                                                        provisional remedy order
17     Rhian Morgan           [Contact through counsel of record]         Hiring and onboarding
                                                                          process for Ottomotto,
18                            Uber Technologies, Inc.                     including hiring agreements;
                                                                          steps taken by Defendants to
19                            1455 Market Street, Floor 4                 prevent trade secrets from
                              San Francisco, CA 94103                     prior employers of
20                                                                        Defendants’ employees
                                                                          coming to Defendants;
21                                                                        confirmation of the absence
                                                                          of evidence of trade secret
22                                                                        misappropriation through
                                                                          and during compliance with
23                                                                        the Court’s provisional
                                                                          remedy order
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Don Burnette           [Contact through counsel of record]         Nature of employment at
                                                                          Waymo and Defendants;
 3                            Uber Technologies, Inc.                     Defendants’ non-
                                                                          misappropriation of
 4                            1455 Market Street, Floor 4                 Waymo’s trade secrets;
                              San Francisco, CA 94103                     formation, purpose, and
 5                                                                        business of Ottomotto;
                                                                          Ottomotto’s decision to be
 6                                                                        acquired by Defendants;
                                                                          Development and operation
 7                                                                        of Waymo’s autonomous
                                                                          vehicle program; Anthony
 8                                                                        Levandowski’s departure
                                                                          from Waymo; Waymo’s
 9                                                                        policies surrounding side
                                                                          projects and side businesses;
10                                                                        knowledge of Waymo
                                                                          employee involvement in
11                                                                        side projects and side
                                                                          businesses; knowledge of the
12                                                                        Project Chauffeur bonus
                                                                          program; Stroz due diligence
13                                                                        for the Uber/Ottomotto
                                                                          acquisition*; confirmation of
14                                                                        the absence of evidence of
                                                                          trade secret misappropriation
15                                                                        through and during
                                                                          compliance with the Court’s
16                                                                        provisional remedy order
       Soren Juelsgaard*      [Contact through counsel of record]         Stroz due diligence for the
17                                                                        Uber/Ottomotto acquisition*;
                              Uber Technologies, Inc.                     Defendants’ non-
18                                                                        misappropriation of
                              1455 Market Street, Floor 4                 Waymo’s trade secrets;
19                            San Francisco, CA 94103                     confirmation of the absence
                                                                          of evidence of trade secret
20                                                                        misappropriation through
                                                                          and during compliance with
21                                                                        the Court’s provisional
                                                                          remedy order
22
       Colin Sebern*          [Contact through counsel of record]         Stroz due diligence for the
23                                                                        Uber/Ottomotto acquisition*;
                              Uber Technologies, Inc.                     Defendants’ non-
24                                                                        misappropriation of
                              1455 Market Street, Floor 4                 Waymo’s trade secrets;
25                            San Francisco, CA 94103                     confirmation of the absence
                                                                          of evidence of trade secret
26                                                                        misappropriation through
                                                                          and during compliance with
27                                                                        the Court’s provisional
                                                                          remedy order
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Brian McClendon        [Contact through counsel of record]         Development and operation
                                                                          of Waymo’s autonomous
 3                            Uber Technologies, Inc.                     vehicle program; Waymo’s
                                                                          employee policies
 4                            1455 Market Street, Floor 4                 concerning confidential and
                              San Francisco, CA 94103                     trade secret information;
 5                                                                        Waymo’s policies
                                                                          surrounding side projects and
 6                                                                        side businesses; knowledge
                                                                          of Waymo employee
 7                                                                        involvement in side projects
                                                                          and side businesses,
 8                                                                        including that of Anthony
                                                                          Levandowski; knowledge of
 9                                                                        the Project Chauffeur bonus
                                                                          program; introduction of
10                                                                        Anthony Levandowski to
                                                                          Defendants; confirmation of
11                                                                        the absence of evidence of
                                                                          trade secret misappropriation
12                                                                        through and during
                                                                          compliance with the Court’s
13                                                                        provisional remedy order
       Justin Suhr            [Contact through counsel of record]         Stroz due diligence for the
14                                                                        Uber/Ottomotto acquisition*;
                              Uber Technologies, Inc.                     Uber’s decision to acquire
15                                                                        Ottomotto and structure of
                              1455 Market Street, Floor 4                 the acquisition; confirmation
16                            San Francisco, CA 94103                     of the absence of evidence of
                                                                          trade secret misappropriation
17                                                                        through and during
                                                                          compliance with the Court’s
18                                                                        provisional remedy order
19     Angela Padilla         [Contact through counsel of record]         Termination of Anthony
                                                                          Levandowski; Stroz due
20                            Uber Technologies, Inc.                     diligence for the
                                                                          Uber/Ottomotto acquisition*;
21                            1455 Market Street, Floor 4                 confirmation of the absence
                              San Francisco, CA 94103                     of evidence of trade secret
22                                                                        misappropriation through
                                                                          and during compliance with
23                                                                        the Court’s provisional
                                                                          remedy order;; Anthony
24                                                                        Levandowski’s claim that he
                                                                          downloaded and retained
25                                                                        alleged misappropriated
                                                                          materials to facilitate bonus
26                                                                        payment(s) from Waymo

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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Andrew Glickman        [Contact through counsel of record]         Stroz due diligence for the
                                                                          Uber/Ottomotto acquisition*;
 3                            Uber Technologies, Inc.                     Uber’s decision to acquire
                                                                          Ottomotto and structure of
 4                            1455 Market Street, Floor 4                 the acquisition; confirmation
                              San Francisco, CA 94103                     of the absence of evidence of
 5                                                                        trade secret misappropriation
                                                                          through and during
 6                                                                        compliance with the Court’s
                                                                          provisional remedy order
 7     Eric Friedberg*        Stroz Friedberg                             Stroz due diligence for the
                              32 Avenue of the Americas, Floor 4          Uber/Ottomotto acquisition*
 8
                              New York, NY 10013
 9                            Phone: (212) 981-6540
10     Mary Fulginiti*        Stroz Friedberg                             Stroz due diligence for the
                              1925 Century Park, East Suite 1350          Uber/Ottomotto acquisition*
11                            Los Angeles, CA 90067
                              Phone: (310) 623-3300
12
       Judith Branham*        Stroz Friedberg                             Stroz due diligence for the
13                            330 Second Avenue South, Suite 335          Uber/Ottomotto acquisition*
                              Minneapolis, MN 55401
14
                              Phone: (612) 605-3000
15     Melanie Maugeri*       Stroz Friedberg                             Stroz due diligence for the
                              101 Montgomery Street, Suite 2200           Uber/Ottomotto acquisition*
16
                              San Francisco, CA 94104
17                            Phone: (415) 671-4720

18     Eric Amdursky*         [Contact through O’Melveny and              Stroz due diligence for the
                              Myers LLP General Counsel]                  Uber/Ottomotto acquisition*
19
                              Martin S. Checov
20                            O’Melveny & Myers LLP
21                            Two Embarcadero Center, 28th Floor
                              San Francisco, CA 94111
22                            Phone: (415) 984-8713
23     Paul Sieben*           [Contact through O’Melveny and              Stroz due diligence for the
                              Myers LLP General Counsel]                  Uber/Ottomotto acquisition*
24
                              Martin S. Checov
25                            O’Melveny & Myers LLP
26                            Two Embarcadero Center, 28th Floor
                              San Francisco, CA 94111
27                            Phone: (415) 984-8713
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                              Knowledge
 2     Eric Tate† 2            Morrison & Foerster LLP                     Stroz due diligence for the
                               425 Market Street                           Uber/Ottomotto acquisition*;
 3                             San Francisco, CA 94105                     confirmation of the absence
                                                                           of evidence of trade secret
 4                             Phone: (415) 268-7000                       misappropriation through
                                                                           and during compliance with
 5                                                                         the Court’s provisional
                                                                           remedy order
 6     Rudy Kim†               Morrison & Foerster LLP                     Intellectual property due
                               755 Page Mill Road                          diligence for the
 7                                                                         Uber/Ottomotto acquisition*;
                               Palo Alto, CA 94304
                                                                           inspection pursuant to the
 8                             Phone: (650) 813-5600                       Court’s provisional remedy
                                                                           order
 9
       Shouvik Biswas*†        Morrison & Foerster LLP                     Intellectual property due
10                             1650 Tysons Boulevard, Suite 400            diligence for the
                                                                           Uber/Ottomotto acquisition*
                               McLean, VA 22102
11
                               Phone: (703) 760-7700
12     Wendy Ray†              Morrison & Foerster LLP                     Confirmation of the absence
                               707 Wilshire Boulevard                      of evidence of trade secret
13                                                                         misappropriation; inspection
                               Los Angeles, CA 90017-3543
                                                                           pursuant to the Court’s
14                             Phone: (213) 892-5200                       provisional remedy order
15     Daniel Muino†           Morrison & Foerster LLP                     Inspection pursuant to the
                               2000 Pennsylvania Avenue, NW                Court’s provisional remedy
16                                                                         order
                               Suite 6000
                               Washington, D.C. 20006
17
                               Phone: (202) 887-1500
18     Esther Kim Chang†       Morrison & Foerster LLP                     Inspection pursuant to the
                               425 Market Street                           Court’s provisional remedy
19                                                                         order
                               San Francisco, CA 94105
20                             Phone: (415) 268-7000
21     Sylvia Rivera†          Morrison & Foerster LLP                     Confirmation of the absence
                               707 Wilshire Boulevard                      of evidence of trade secret
22                             Los Angeles, CA 90017-3543                  misappropriation through
                                                                           and during compliance with
                               Phone: (213) 892-5200                       the Court’s provisional
23
                                                                           remedy order
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             2
                In view of the rapid pace of this litigation and the Court’s order requiring initial
26    disclosures by June 21, 2017, Defendants are listing certain outside counsel as potential witnesses
      out of an abundance of caution. Such outside counsel are indicated with †. Defendants expect to
27    resolve, through resolution of pending privilege issues and discussions with opposing counsel and
      the Court, whether any of these potential witnesses will in fact be called as witnesses at trial.
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Kevin Faulkner         Stroz Friedberg                             Forensic examination of
                              32 Avenue of the Americas, Floor 4          Uber-issued devices and
 3                            New York, NY 10013                          data; confirmation of the
                                                                          absence of evidence of trade
 4                            Phone: (212) 981-6540                       secret misappropriation
                                                                          through and during
 5                                                                        compliance with the Court’s
                                                                          provisional remedy order
 6     John Krafcik           Waymo LLC                                   Development and operation
                              1600 Amphitheatre Parkway                   of Waymo’s autonomous
 7                                                                        vehicle program; Anthony
                              Mountain View, CA 94043
                                                                          Levandowski’s departure
 8                                                                        from Waymo; Waymo’s
                                                                          policies surrounding side
 9                                                                        projects and side businesses;
                                                                          knowledge of Waymo
10                                                                        employee involvement in
                                                                          side projects and side
11                                                                        businesses, including that of
                                                                          Anthony Levandowski;
12                                                                        Waymo’s business plans;
                                                                          knowledge of discussions
13                                                                        with Defendants regarding a
                                                                          partnership with Defendants
14                                                                        in the self-driving
                                                                          vehicle/ride-sharing space;
15                                                                        knowledge of the Project
                                                                          Chauffeur bonus program;
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Pierre-Yves Droz       Waymo LLC                                   Inventions disclosed and
                              1600 Amphitheatre Parkway                   claimed in the ’922, ’464,
 3                            Mountain View, CA 94043                     and ’936 patents, including
                                                                          conception and reduction to
 4                                                                        practice; the preparation and
                                                                          filing of the ’922, ’464, and
 5                                                                        ’936 patents; Waymo’s
                                                                          employee policies
 6                                                                        concerning confidential and
                                                                          trade secret information,
 7                                                                        including with respect to
                                                                          hardware; the design,
 8                                                                        development, and operation
                                                                          of Waymo’s LiDAR
 9                                                                        systems, self-driving car
                                                                          project, and purported trade
10                                                                        secrets;; whether and to what
                                                                          extent the allegedly
11                                                                        misappropriated files contain
                                                                          Waymo’s alleged trade
12                                                                        secrets; Waymo’s awareness
                                                                          of the extent to which each
13                                                                        of the alleged Waymo trade
                                                                          secrets selected for trial other
14                                                                        than trade secret 25, or
                                                                          elements thereof, are known
15                                                                        or practiced outside of
                                                                          Waymo; Waymo’s
16                                                                        knowledge of Odin Wave
       William McCann         Waymo LLC                                   Design, development, and
17                                                                        operation of Waymo’s
                              1600 Amphitheatre Parkway
                              Mountain View, CA 94043                     LiDAR systems, self-driving
18                                                                        car project, and purported
                                                                          trade secrets; Waymo’s
19                                                                        employee policies
                                                                          concerning confidential and
20                                                                        trade secret information
21     Ben Ingram             Waymo LLC                                   Design, development, and
                              1600 Amphitheatre Parkway                   operation of Waymo’s
22                            Mountain View, CA 94043                     LiDAR systems, self-driving
                                                                          car project, and purported
23                                                                        trade secrets; Waymo’s
                                                                          employee policies
24                                                                        concerning confidential and
                                                                          trade secret information;
25                                                                        Waymo’s awareness of tthe
                                                                          extent to which alleged
26                                                                        Waymo trade secret 25, or
                                                                          elements thereof, is known
27                                                                        or practiced outside of
                                                                          Waymo
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Bernard Fidric         Waymo LLC                                   Design, development, and
                              1600 Amphitheatre Parkway                   operation of Waymo’s
 3                            Mountain View, CA 94043                     LiDAR systems, self-driving
                                                                          car project, and purported
 4                                                                        trade secrets; Waymo’s
                                                                          employee policies
 5                                                                        concerning confidential and
                                                                          trade secret information
 6     Luke Wachter           Waymo LLC                                   Design, development, and
                              1600 Amphitheatre Parkway                   operation of Waymo’s
 7                                                                        LiDAR systems, self-driving
                              Mountain View, CA 94043
                                                                          car project, and purported
 8                                                                        trade secrets; Waymo’s
                                                                          employee policies
 9                                                                        concerning confidential and
                                                                          trade secret information
10
       Dmitri Dolgov          Waymo LLC                                   Design, development, and
11                            1600 Amphitheatre Parkway                   operation of Waymo’s
                              Mountain View, CA 94043                     LiDAR systems, self-driving
12                                                                        car project, and purported
                                                                          trade secrets; Waymo’s
13                                                                        employee policies
                                                                          concerning confidential and
14                                                                        trade secret information;
                                                                          Waymo’s policies
15                                                                        surrounding side projects and
                                                                          side businesses; knowledge
16                                                                        of Waymo employee
                                                                          involvement in side projects
17                                                                        and side businesses,
                                                                          including that of Anthony
18                                                                        Levandowski;; knowledge of
                                                                          the Project Chauffeur bonus
19                                                                        program
       Nathaniel Fairfield    Waymo LLC                                   Design, development, and
20                                                                        operation of Waymo’s
                              1600 Amphitheatre Parkway
                              Mountain View, CA 94043                     LiDAR systems, self-driving
21                                                                        car project, and purported
                                                                          trade secrets; Waymo’s
22                                                                        employee policies
                                                                          concerning confidential and
23                                                                        trade secret information;
                                                                          Waymo’s policies
24                                                                        surrounding side projects and
                                                                          side businesses; knowledge
25                                                                        of Waymo employee
                                                                          involvement in side projects
26                                                                        and side businesses,
                                                                          including that of Anthony
27                                                                        Levandowski
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Andrew Chatham         Waymo LLC                                   Design, development, and
                              1600 Amphitheatre Parkway                   operation of Waymo’s
 3                            Mountain View, CA 94043                     LiDAR systems, self-driving
                                                                          car project, and purported
 4                                                                        trade secrets; Waymo’s
                                                                          employee policies
 5                                                                        concerning confidential and
                                                                          trade secret information;
 6                                                                        Waymo’s policies
                                                                          surrounding side projects and
 7                                                                        side businesses; knowledge
                                                                          of Waymo employee
 8                                                                        involvement in side projects
                                                                          and side businesses,
 9                                                                        including that of Anthony
                                                                          Levandowski
10     Rahim Pardhan          Waymo LLC                                   Design, development, and
                              1600 Amphitheatre Parkway                   operation of Waymo’s
11                                                                        LiDAR systems, self-driving
                              Mountain View, CA 94043
                                                                          car project, and purported
12                                                                        trade secrets; Waymo’s
                                                                          employee policies
13                                                                        concerning confidential and
                                                                          trade secret information
14
       Blaise Gassend         Waymo LLC                                   Design, development, and
15                            1600 Amphitheatre Parkway                   operation of Waymo’s
                              Mountain View, CA 94043                     LiDAR systems, self-driving
16                                                                        car project, and purported
                                                                          trade secrets; Waymo’s
17                                                                        employee policies
                                                                          concerning confidential and
18                                                                        trade secret information
       Mark Shand             Waymo LLC                                   Design, development, and
19                                                                        operation of Waymo’s
                              1600 Amphitheatre Parkway
                              Mountain View, CA 94043                     LiDAR systems, self-driving
20                                                                        car project, and purported
                                                                          trade secrets; Waymo’s
21                                                                        employee policies
                                                                          concerning confidential and
22                                                                        trade secret information;
                                                                          Waymo’s policies
23                                                                        surrounding side projects and
                                                                          side businesses; knowledge
24                                                                        of Waymo employee
                                                                          involvement in side projects
25                                                                        and side businesses,
                                                                          including that of Anthony
26                                                                        Levandowski
27
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Andrew Schultz         Waymo LLC                                   Design, development, and
                              1600 Amphitheatre Parkway                   operation of Waymo’s
 3                            Mountain View, CA 94043                     LiDAR systems, self-driving
                                                                          car project, and purported
 4                                                                        trade secrets; Waymo’s
                                                                          employee policies
 5                                                                        concerning confidential and
                                                                          trade secret information
 6     Ryan Andrade           Waymo LLC                                   Design, development, and
                              1600 Amphitheatre Parkway                   operation of Waymo’s
 7
                              Mountain View, CA 94043                     LiDAR systems, self-driving
 8                                                                        car project, and purported
                                                                          trade secrets; Waymo’s
 9                                                                        employee policies
                                                                          concerning confidential and
10                                                                        trade secret information
11     Drew Ulrich            Waymo LLC                                   Inventions disclosed and
                              1600 Amphitheatre Parkway                   claimed in the ’922 and
12                            Mountain View, CA 94043                     ’464 patents, including
                                                                          conception and reduction to
13                                                                        practice; the preparation and
                                                                          filing of the ’922 and
14                                                                        ’464 patents; Waymo’s
                                                                          employee policies
15                                                                        concerning confidential and
                                                                          trade secret information; the
16                                                                        design, development, and
                                                                          operation of Waymo’s
17                                                                        LiDAR systems, self-driving
                                                                          car project, and purported
18                                                                        trade secrets
       Zachary Morris         Waymo LLC                                   Inventions disclosed and
19                            1600 Amphitheatre Parkway                   claimed in the ’922 and
                              Mountain View, CA 94043                     ’464 patents, including
20                                                                        conception and reduction to
                                                                          practice; the preparation and
21                                                                        filing of the ’922 and
                                                                          ’464 patents; Waymo’s
22                                                                        employee policies
                                                                          concerning confidential and
23                                                                        trade secret information; the
                                                                          design, development, and
24                                                                        operation of Waymo’s
                                                                          LiDAR systems, self-driving
25                                                                        car project, and purported
                                                                          trade secrets
26
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28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Samuel Lenius          Waymo LLC                                   Invention disclosed and
                              1600 Amphitheatre Parkway                   claimed in the ’936 patent,
 3                            Mountain View, CA 94043                     including conception and
                                                                          reduction to practice; the
 4                                                                        preparation and filing of the
                                                                          ’936 patent; Waymo’s
 5                                                                        employee policies
                                                                          concerning confidential and
 6                                                                        trade secret information; the
                                                                          design, development, and
 7                                                                        operation of Waymo’s
                                                                          LiDAR systems, self-driving
 8                                                                        car project, and purported
                                                                          trade secrets
 9     Ionut Dorel Iordache   Waymo LLC                                   Design, development, and
                              1600 Amphitheatre Parkway                   operation of Waymo’s
10                                                                        LiDAR systems, self-driving
                              Mountain View, CA 94043
                                                                          car project, and purported
11                                                                        trade secrets; Waymo’s
                                                                          employee policies
12                                                                        concerning confidential and
                                                                          trade secret information
13
       Daniel Chu             Waymo LLC                                   Estimates and forecasts of
14                            1600 Amphitheatre Parkway                   ride-sharing market and
                              Mountain View, CA 94043                     Waymo’s share of ride-
15                                                                        sharing market; Waymo’s
                                                                          business and strategic plans
16
                                                                          (and plans generally) for the
17                                                                        ride-sharing market,
                                                                          including projections for
18                                                                        revenue generation and
                                                                          profitability
19     Gerard Dwyer           Waymo LLC                                   Estimates and forecasts of
                              1600 Amphitheatre Parkway                   ride-sharing market and
20
                              Mountain View, CA 94043                     Waymo’s share of ride-
21                                                                        sharing market; Waymo’s
                                                                          business and strategic plans
22                                                                        (and plans generally) for the
                                                                          ride-sharing market,
23                                                                        including projections for
24                                                                        revenue generation and
                                                                          profitability;; the costs of
25                                                                        developing the technology in
                                                                          Waymo’s alleged trade
26                                                                        secrets
27
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Jennifer Haroon        Waymo LLC                                   Estimates and forecasts of
                              1600 Amphitheatre Parkway                   ride-sharing market and
 3                            Mountain View, CA 94043                     Waymo’s share of ride-
                                                                          sharing market; Waymo’s
 4                                                                        business and strategic plans
                                                                          (and plans generally) for the
 5
                                                                          ride-sharing market,
 6                                                                        including projections for
                                                                          revenue generation and
 7                                                                        profitability;; valuations of
                                                                          Project Chauffeur
 8                                                                        Waymo’s employee policies
       Joanne Chin            Waymo LLC
 9                            1600 Amphitheatre Parkway                   concerning confidential and
                              Mountain View, CA 94043                     trade secret information;
10                                                                        Waymo’s policies
                                                                          surrounding side projects and
11                                                                        side businesses; knowledge
                                                                          of Waymo employee
12                                                                        involvement in side projects
13                                                                        and side businesses,
                                                                          including that of Anthony
14                                                                        Levandowski;; knowledge of
                                                                          Google’s indemnification
15                                                                        practices
       Gary Brown             Waymo LLC                                   Waymo’s first awareness of
16
                              1600 Amphitheatre Parkway                   alleged trade secret
17                            Mountain View, CA 94043                     misappropriation; Waymo’s
                                                                          forensic investigation into
18                                                                        alleged misappropriation of
                                                                          trade secret
19                                                                        misappropriation;; Waymo’s
                                                                          measures to protect the
20
                                                                          security of Waymo’
                                                                                      Waymo’s
21                                                                        confidential documents,
                                                                          servers, and SVN repository
22     Michael Janosko        Waymo LLC                                   Waymo’s measures to
                              1600 Amphitheatre Parkway                   protect the security of
23                                                                        Waymo’s confidential
                              Mountain View, CA 94043
24                                                                        documents, servers, and
                                                                          SVN repository; Waymo’s
25                                                                        employee policies
                                                                          concerning confidential and
26                                                                        trade secret information
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Kristinn Gudjonsson    Waymo LLC                                   Waymo’s measures to
                              1600 Amphitheatre Parkway                   protect the security of
 3                            Mountain View, CA 94043                     Waymo’s confidential
                                                                          documents, servers, and
 4                                                                        SVN repository; Waymo’s
                                                                          employee policies
 5
                                                                          concerning confidential and
 6                                                                        trade secret information;
                                                                          Waymo’s forensic
 7                                                                        investigation into alleged
                                                                          misappropriation of trade
 8                                                                        secret misappropriation
 9     Tim Willis             Waymo LLC                                   Waymo’s supply chain
                              1600 Amphitheatre Parkway                   operations; Waymo’s
10                            Mountain View, CA 94043                     employee policies
                                                                          concerning confidential and
11                                                                        trade secret information
       Sean Noyce             Waymo LLC                                   Waymo’s supply chain
12                                                                        operations; Waymo’s
                              1600 Amphitheatre Parkway
                              Mountain View, CA 94043                     employee policies
13                                                                        concerning confidential and
                                                                          trade secret information
14
       Jai Krishnan           Waymo LLC                                   Waymo’s supply chain
15                            1600 Amphitheatre Parkway                   operations; Waymo’s
                              Mountain View, CA 94043                     employee policies
16                                                                        concerning confidential and
                                                                          trade secret information
17                                                                        Waymo’s knowledge of
       William Grossman       Waymo LLC
18                            1600 Amphitheatre Parkway                   Defendants’ LiDAR design;
                              Mountain View, CA 94043                     Waymo’s employee policies
19                                                                        concerning confidential and
                                                                          trade secret information;
20                                                                        Waymo’s receipt of
                                                                          correspondence containing
21                                                                        Defendants’ LiDAR design
22     Ron Medford            Waymo LLC                                   Waymo’s filings,
                              1600 Amphitheatre Parkway                   submissions, applications, or
23                            Mountain View, CA 94043                     certifications made to public
                                                                          entities pertaining to its self-
24                                                                        driving cars and the use of
                                                                          lasers in autonomous
25
                                                                          vehicles
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Waymo Human            Waymo LLC                                   Waymo’s policies
       Resources Manager      1600 Amphitheatre Parkway                   concerning confidential and
 3                            Mountain View, CA 94043                     trade secret information;
                                                                          Waymo employment and
 4                                                                        compensation issues; Project
                                                                          Chauffeur bonus program
 5
       Chelsea Bailey         Waymo LLC                                   Waymo’s policies
 6                            1600 Amphitheatre Parkway                   concerning confidential and
                              Mountain View, CA 94043                     trade secret information;
 7                                                                        Waymo employment and
                                                                          compensation issues; Project
 8                                                                        Chauffeur bonus program
 9     Meiling Tan            Waymo LLC                                   Marketing of Waymo’s
                              1600 Amphitheatre Parkway                   autonomous vehicle
10                            Mountain View, CA 94043                     program; Waymo’s business
                                                                          plans; Waymo’s strategy
11                                                                        regarding its business model
                                                                          with respect to self-driving
12                                                                        car technology; Waymo’s
13                                                                        partnerships in the self-
                                                                          driving car space; Waymo’s
14                                                                        business and strategic plans
                                                                          (and plans generally) for the
15                                                                        ride-sharing market,
                                                                          including projections for
16
                                                                          revenue generation and
17                                                                        profitability
       Individuals most       Waymo LLC                                   Development and operation
18     knowledgeable about 1600 Amphitheatre Parkway                      of Waymo’s autonomous
       Waymo’s business,      Mountain View, CA 94043                     vehicle program; Waymo’s
19     confidentiality                                                    policies surrounding side
       policies, self-driving                                             projects and side businesses;
20     vehicle program,                                                   knowledge of Waymo
       LiDAR systems, and                                                 employee involvement in
21     employment and                                                     side projects and side
       compensation                                                       businesses, including that of
22     policies and                                                       Anthony Levandowski; the
       practices                                                          design, development, and
23                                                                        operation of Waymo’s
                                                                          LiDAR systems and
24                                                                        purported trade secrets

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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     David Krane            Google Ventures                             Development and operation
                              1600 Amphitheatre Parkway                   of Waymo’s autonomous
 3                            Mountain View, CA 94043                     vehicle program; Anthony
                                                                          Levandowski’s departure
 4                                                                        from Waymo; Waymo’s
                                                                          policies surrounding side
 5                                                                        projects and side businesses;
                                                                          knowledge of Waymo
 6                                                                        employee involvement in
                                                                          side projects and side
 7                                                                        businesses, including that of
                                                                          Anthony Levandowski;
 8                                                                        Waymo’s business plans;
                                                                          knowledge of discussions
 9                                                                        with Defendants regarding a
                                                                          partnership with Defendants
10                                                                        in the self-driving
                                                                          vehicle/ride-sharing space
11     David Lu               Google Ventures                             Development and operation
                              1600 Amphitheatre Parkway                   of Waymo’s autonomous
12                                                                        vehicle program; Anthony
                              Mountain View, CA 94043
                                                                          Levandowski’s departure
13                                                                        from Waymo; Waymo’s
                                                                          policies surrounding side
14                                                                        projects and side businesses;
                                                                          knowledge of Waymo
15                                                                        employee involvement in
                                                                          side projects and side
16                                                                        businesses, including that of
                                                                          Anthony Levandowski;
17                                                                        Waymo’s business plans;
                                                                          Waymo’s strategy regarding
18                                                                        its business model with
                                                                          respect to self-driving car
19                                                                        technology; Waymo’s
                                                                          business and strategic plans
20                                                                        (and plans generally) for the
                                                                          ride-sharing market,
21                                                                        including projections for
                                                                          revenue generation and
22                                                                        profitability; Waymo’s
                                                                          partnerships in the self-
23                                                                        driving car space; knowledge
                                                                          of discussions with
24                                                                        Defendants regarding a
                                                                          partnership with Defendants
25                                                                        in the self-driving
                                                                          vehicle/ride-sharing space
26
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Larry Page             Alphabet Inc.                               Development and operation
                              1600 Amphitheatre Parkway                   of Waymo’s autonomous
 3                            Mountain View, CA 94043                     vehicle program; Anthony
                                                                          Levandowski’s departure
 4                                                                        from Waymo; Waymo’s
                                                                          policies surrounding side
 5                                                                        projects and side businesses;
                                                                          knowledge of Waymo
 6                                                                        employee involvement in
                                                                          side projects and side
 7                                                                        businesses, including that of
                                                                          Anthony Levandowski;
 8                                                                        Waymo’s business plans;
                                                                          knowledge of discussions
 9                                                                        with Defendants regarding a
                                                                          partnership with Defendants
10                                                                        in the self-driving
                                                                          vehicle/ride-sharing space;
11                                                                        knowledge of the Project
                                                                          Chauffeur bonus program;
12     Sergey Brin            Alphabet Inc.                               Development and operation
                              1600 Amphitheatre Parkway                   of Waymo’s autonomous
13                                                                        vehicle program; Anthony
                              Mountain View, CA 94043
                                                                          Levandowski’s departure
14                                                                        from Waymo; Waymo’s
                                                                          policies surrounding side
15                                                                        projects and side businesses;
                                                                          knowledge of Waymo
16                                                                        employee involvement in
                                                                          side projects and side
17                                                                        businesses, including that of
                                                                          Anthony Levandowski
18
       Eric Schmidt           Alphabet Inc.                               Development of Waymo’s
19                            1600 Amphitheatre Parkway                   autonomous vehicle
                              Mountain View, CA 94043                     program; Anthony
20                                                                        Levandowski’s departure
                                                                          from Waymo
21     David Drummond         Alphabet Inc.                               Waymo’s knowledge of
                              1600 Amphitheatre Parkway                   Defendants’ autonomous
22                                                                        vehicle program; knowledge
                              Mountain View, CA 94043
                                                                          of Waymo’s discussions with
23                                                                        Defendants regarding a
                                                                          partnership with Defendants
24                                                                        in the self-driving
                                                                          vehicle/ride-sharing space.
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Chris Urmson           1777 Latham Street                          Development and operation
                              Mountain View, CA 94041                     of Waymo’s autonomous
 3                                                                        vehicle program; Anthony
                                                                          Levandowski’s departure
 4                                                                        from Waymo; Waymo’s
                                                                          employee policies
 5                                                                        concerning confidential and
                                                                          trade secret information;
 6                                                                        Waymo’s policies
                                                                          surrounding side projects and
 7                                                                        side businesses; knowledge
                                                                          of Waymo employee
 8                                                                        involvement in side projects
                                                                          and side businesses,
 9                                                                        including that of Anthony
                                                                          Levandowski; knowledge of
10                                                                        the Project Chauffeur bonus
                                                                          program;
11     Bryan Salesky          Argo AI                                     Development and operation
                              40 24th Street                              of Waymo’s autonomous
12                                                                        vehicle program; Anthony
                              Pittsburgh, PA 15222
                                                                          Levandowski’s departure
13                                                                        from Waymo; Waymo’s
                                                                          employee policies
14                                                                        concerning confidential and
                                                                          trade secret information;
15                                                                        Waymo’s policies
                                                                          surrounding side projects and
16                                                                        side businesses; knowledge
                                                                          of Waymo employee
17                                                                        involvement in side projects
                                                                          and side businesses,
18                                                                        including that of Anthony
                                                                          Levandowski
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Sebastian Thrun        Udacity, Inc.                               Development and operation
                              2465 Latham Street                          of Waymo’s autonomous
 3                            Mountain View, CA 94040                     vehicle program; Anthony
                                                                          Levandowski’s departure
 4                                                                        from Waymo; knowledge of
                                                                          the Project Chauffeur bonus
 5                                                                        program; Waymo’s
                                                                          employee policies
 6                                                                        concerning confidential and
                                                                          trade secret information;
 7                                                                        Waymo’s policies
                                                                          surrounding side projects and
 8                                                                        side businesses; knowledge
                                                                          of Waymo employee
 9                                                                        involvement in side projects
                                                                          and side businesses,
10                                                                        including that of Anthony
                                                                          Levandowski
11     Jiajun Zhu             Nuro, Inc.                                  Development and operation
                              435 N Whisman Road, Suite 100               of Waymo’s autonomous
12                                                                        vehicle program; Anthony
                              Mountain View, CA 94043
                                                                          Levandowski’s departure
13                                                                        from Waymo; Waymo’s
                                                                          employee policies
14                                                                        concerning confidential and
                                                                          trade secret information;
15                                                                        Waymo’s policies
                                                                          surrounding side projects and
16                                                                        side businesses; knowledge
                                                                          of Waymo employee
17                                                                        involvement in side projects
                                                                          and side businesses,
18                                                                        including that of Anthony
                                                                          Levandowski
19
       Dave Ferguson          Nuro, Inc.                                  Development and operation
20                            435 N Whisman Road, Suite 100               of Waymo’s autonomous
                              Mountain View, CA 94043                     vehicle program; Anthony
21                                                                        Levandowski’s departure
                                                                          from Waymo; Waymo’s
22                                                                        employee policies
                                                                          concerning confidential and
23                                                                        trade secret information;
                                                                          Waymo’s policies
24                                                                        surrounding side projects and
                                                                          side businesses; knowledge
25                                                                        of Waymo employee
                                                                          involvement in side projects
26                                                                        and side businesses,
                                                                          including that of Anthony
27                                                                        Levandowski

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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Kyle Vogt              Cruise Automation                           Public disclosure of
                              201 11th Street                             Waymo’s purported trade
 3                                                                        secrets
                              San Francisco, CA 94103
 4     Employee of            5521 Hellyer Avenue                         Public disclosure of
       Velodyne               San Jose, CA 95138                          Waymo’s purported trade
 5     LiDAR, Inc.            (408) 465-2800                              secrets

 6     Employee of            482 Mercury Drive                           Public disclosure of
       Quanergy               Sunnyvale, CA 94085                         Waymo’s purported trade
 7     Systems, Inc.          (408) 245-9500                              secrets

 8     Employee of Cepton     103 Bonaventura Drive                       Public disclosure of
       Technologies, Inc.     San Jose, CA 95134                          Waymo’s purported trade
 9                                                                        secrets

10     Employee of Innoviz    15 Atir Yeda Street                         Public disclosure of
       Technologies Ltd.      Kfar Saba, Israel 4464312                   Waymo’s purported trade
11                                                                        secrets
                              Email: info@innoviz.tech
12     Employee of            495 Old Spanish Trail                       Public disclosure of
       Luminar                Portola Valley, CA 94028                    Waymo’s purported trade
13     Technologies, Inc.                                                 secrets
       Employee of Toyota     19001 South Western Avenue                  Public disclosure of
14     Motor Sales, U.S.A.,                                               Waymo’s purported trade
                              Department WC11
       Inc.                   Torrance, CA 90501                          secrets
15
                              (310) 468-5084
16
       Employee of Ford       One American Road                           Public disclosure of
17     Motor Company          Dearborn, MI 48126                          Waymo’s purported trade
                              (313) 322-3000                              secrets
18
       Employee of BMW        300 Chestnut Ridge Road                     Public disclosure of
19     of North America,      Woodcliff Lake, NJ 07677-7731               Waymo’s purported trade
       LLC                                                                secrets
20     Employee of         1209 N. Orange Street                          Public disclosure of
       Leddartech USA Inc. Wilmington, DE 19801-1120                      Waymo’s purported trade
21                                                                        secrets
22     Employee of          2740, Rue Einstein                            Public disclosure of
       Phantom Intelligence Québec, QC G1P 4S4 Canada                     Waymo’s purported trade
23     Inc.                                                               secrets
                            (418) 650-6518
24
       Employee of            24777 Denso Drive                           Public disclosure of
25     DENSO                  Southfield, MI 48086                        Waymo’s purported trade
       International          (248) 350-7500                              secrets
26     America
       Employee of            18030 MacMillan Park Drive                  Public disclosure of
27     Continental                                                        Waymo’s purported trade
                              Fort Mill, SC 29707
       Automotive, Inc.       (704) 583-8710                              secrets
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Employee of            150 Stephenson Highway                      Public disclosure of
       Valeo Inc.             Troy, MI 48083                              Waymo’s purported trade
 3                                                                        secrets
                              (248) 619-8300
 4     Employee of Suteng Robosense Building, Block 1                     Public disclosure of
       Innovation           South of Zhongguan Honghualing                Waymo’s purported trade
 5     Technology Co., Ltd. Industrial District                           secrets
                            No. 1213 Liuxian Avenue
 6
                            Taoyuan Street, Nanshan District
 7                          Shenzhen, China
                            Phone: 400 6325830 / 0755-86325830
 8                          Email: Service@sz-sti.com
 9     Employee of            c/o Acme Agent, Inc.                        Public disclosure of
       Nalux Co., Ltd.        41 S. High Street, Suite 2800               Waymo’s purported trade
10                            Columbus, OH 43215                          secrets; communications and
                                                                          business transactions with
11                                                                        Waymo or Defendants
                                                                          regarding the manufacture of
12                                                                        the FAC lens; manufacture,
                                                                          availability, and use of FAC
13                                                                        lenses
       Employee of            1150 Kifer Road, Suite 100                  Public disclosure of
14     OSRAM Opto                                                         Waymo’s purported trade
                              Sunnyvale, CA 94086
       Semiconductors Inc.                                                secrets; communications and
15                                                                        business transactions with
                                                                          Waymo or Defendants
16                                                                        regarding the manufacture of
                                                                          the FAC lens; manufacture,
17                                                                        availability, and use of FAC
                                                                          lenses; use and position of
18                                                                        laser diodes on printed
                                                                          circuit boards
19
       Employee of Gorilla    Gorilla Circuits                            Communications and
20     Circuits               c/o CT Corporation                          business transactions with
                              818 W. 7th Street, Suite 930                Waymo or Defendants
21                                                                        regarding components for
                              Los Angeles, CA 90017                       LiDAR sensors;
22                                                                        manufacture, availability,
                                                                          and use of such components
23
24
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Employee of            185 Berry Street, Suite 500                 Waymo’s business plans;
       Lyft, Inc.             San Francisco, CA 94107                     Waymo’s strategy regarding
 3                                                                        its business model with
                                                                          respect to self-driving car
 4                                                                        technology; Waymo’s
                                                                          partnerships in the self-
 5                                                                        driving car space; Waymo’s
                                                                          business and strategic plans
 6                                                                        (and plans generally) for the
                                                                          ride-sharing market,
 7                                                                        including projections for
                                                                          revenue generation and
 8                                                                        profitability
       John Gardner           c/o Rogers Joseph O’Donnell                 Representation of Anthony
 9                                                                        Levandowski; knowledge of
                              311 California Street, 10th Floor
10                            San Francisco, CA                           Odin Wave LLC, Tyto
                                                                          LiDAR LLC, and Sandstone
11                                                                        Group LLC; Stroz due
                                                                          diligence for the
12                                                                        Uber/Ottomotto acquisition*
       Alisa Baker            Levine & Baker                              Representation of Lior Ron;
13                                                                        knowledge of Odin
                              340 Pine St Suite 300,
14                            San Francisco, CA 94104                     Wave LLC, Tyto
                                                                          LiDAR LLC, and Sandstone
15                                                                        Group LLC; Stroz due
                                                                          diligence for the
16                                                                        Uber/Ottomotto acquisition*
17     Jordan Jaffe†          Quinn Emanuel Urquhart &                    Inspection pursuant to the
                              Sullivan, LLP                               Court’s provisional remedy
18                            50 California Street, 22nd Floor            order
                              San Francisco, California 94111
19                            Phone: (415) 875-6600
20     Felipe Corredor†       Quinn Emanuel Urquhart &                    Inspection pursuant to the
                              Sullivan, LLP                               Court’s provisional remedy
21                            50 California Street, 22nd Floor            order
                              San Francisco, California 94111
22
                              Phone: (415) 875-6600
23     Jeff Nardinelli†       Quinn Emanuel Urquhart &                    Inspection pursuant to the
                              Sullivan, LLP                               Court’s provisional remedy
24                            50 California Street, 22nd Floor            order
25                            San Francisco, California 94111
                              Phone: (415) 875-6600
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     John McCauley†         Quinn Emanuel Urquhart &                    Inspection pursuant to the
                              Sullivan, LLP                               Court’s provisional remedy
 3                            50 California Street, 22nd Floor            order
                              San Francisco, California 94111
 4
                              Phone: (415) 875-6600
 5     Jared Newton†          Quinn Emanuel Urquhart &                    Inspection pursuant to the
                              Sullivan, LLP                               Court’s provisional remedy
 6                            777 6th Street NW, 11th floor               order
 7                            Washington, D.C. 20001
                              Phone: (202) 538-8000
 8     Brian Zajac            [Contact through counsel of record]         Design and development of
                                                                          Defendants’ LiDAR,
 9                                                                        including test scenarios
                                                                                         scenarios;
                              Uber Technologies, Inc.
                                                                          Defendants’ non
                                                                                       non-
10                            Advanced Technologies Center                misappropriation of
                              100 32nd St, Pittsburgh, PA 15201           Waymo’s trade secrets;
11                                                                        confirmation of the absence
                                                                          of evidence of trade secret
12                                                                        misappropriation through
                                                                          and during compliance with
13                                                                        the Court’s provisional
                                                                          remedy order
14
       Sasha Zbrozek          Waymo LLC                                   Waymo’s measures to
15                            1600 Amphitheatre Parkway                   protect the security of
                              Mountain View, CA 94043                     Waymo’s confidential
16                                                                        documents, servers, and
                                                                          SVN repository; Waymo’s
17                                                                        employee policies
                                                                          concerning confidential and
18                                                                        trade secret information;
                                                                          Waymo’s forensic
19                                                                        investigation into alleged
                                                                          misappropriation of trade
20                                                                        secrets

21     David Lawee            Alphabet Inc.                               Knowledge of the Project
                              1600 Amphitheatre Parkway                   Chauffeur bonus program;
22                            Mountain View, CA 94043                     knowledge of Waymo’s
                                                                          acquisition of 510 Systems
23                                                                        and Anthony’s Robots;
                                                                          knowledge of Google’s
                                                                          indemnification practices
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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1           Persons                           Address                             Knowledge
 2     Nick Vines             Nuro, Inc.                                  Waymo’s measures to
                              435 N Whisman Road, Suite 100               protect the security of
 3                            Mountain View, CA 94043                     Waymo’s confidential
                                                                          documents, servers, and
 4                                                                        SVN repository; Waymo’s
                                                                          employee policies
 5                                                                        concerning confidential and
                                                                          trade secret information;
 6                                                                        Waymo’s forensic
                                                                          investigation into alleged
 7                                                                        misappropriation of trade
                                                                          secrets
 8     Nathaniel Fairfield    Waymo LLC                                   Waymo’s measures to
                              1600 Amphitheatre Parkway                   protect the security of
 9                                                                        Waymo’s confidential
                              Mountain View, CA 94043
                                                                          documents, servers, and
10                                                                        SVN repository; Waymo’s
                                                                          employee policies
11                                                                        concerning confidential and
                                                                          trade secret information;
12                                                                        Waymo’s forensic
                                                                          investigation into alleged
13                                                                        misappropriation of trade
                                                                          secrets; Waymo’s knowledge
14                                                                        of Odin Wave and Tyto
                                                                          Lidar
15
       Andrew Barton          Waymo LLC                                   Waymo’s measures to
16     Sweeney                1600 Amphitheatre Parkway                   protect the security of
                              Mountain View, CA 94043                     Waymo’s confidential
17                                                                        documents, servers, and
                                                                          SVN repository; Waymo’s
18                                                                        employee policies
                                                                          concerning confidential and
19                                                                        trade secret information;
                                                                          Waymo’s forensic
20                                                                        investigation into alleged
                                                                          misappropriation of trade
21                                                                        secrets; Waymo’s knowledge
                                                                          of Odin Wave and Tyto
                                                                                              T
22                                                                        Lidar

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      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1            Persons                            Address                               Knowledge
 2     Leah Bijnens             Waymo LLC                                    Waymo’s measures to
                                1600 Amphitheatre Parkway                    protect the security of
 3                              Mountain View, CA 94043                      Waymo’s confidential
                                                                             documents, servers, and
 4                                                                           SVN repository; Waymo’s
                                                                             employee policies
 5                                                                           concerning confidential and
                                                                             trade secret information;
 6                                                                           Waymo’s forensic
                                                                             investigation into alleged
 7                                                                           misappropriation of trade
                                                                             secrets; Waymo’s knowledge
 8                                                                           of Odin Wave and Tyto
                                                                             Lidar
 9     Shawn Bananzadeh         Waymo LLC                                    Estimates and forecasts of
                                1600 Amphitheatre Parkway                    ride-sharing
                                                                             ride sharing market and
10                                                                           Waymo’s share of rideride-
                                Mountain View, CA 94043
                                                                             sharing market; Waymo’s
11                                                                           business and strategic plans
                                                                             (and plans generally) for the
12                                                                           ride-sharing
                                                                             ride sharing market,
                                                                             including projections for
13                                                                           revenue generation and
                                                                             profitability; the costs of
14                                                                           developing the technology in
                                                                             Waymo’s alleg
                                                                                        alleged trade
15                                                                           secrets
16     Michael Xing             Waymo LLC                                    Payments made pursuant to
                                1600 Amphitheatre Parkway                    the Project Chauffeur Bonus
17                              Mountain View, CA 94043                      plan; other bonus payments
                                                                             made to Chauffeur/Waymo
18                                                                           employees

19
             Defendants believe that Waymo’s current and former employees and consultants are likely
20
      to have knowledge of: (1) the design and development of Waymo’s LiDAR and purported trade
21
      secrets, including but not limited to failures to protect the confidentiality of such purported trade
22
      secrets; (2) the ’922, ’464, and ’936 patents (“the Asserted Patents”); (3) Waymo’s analyses or
23
      plans concerning the ride-sharing market, including projections for revenue generation and
24
      profitability; (4) Waymo’s delay in bringing this lawsuit and motivations for litigating against
25
      Defendants; (5) Waymo’s practice of allowing competing side businesses; and (6) lack of
26
      damages or irreparable harm to Waymo. The identities of all such individuals are known to
27
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
      Case No. 3:17-cv-00939-WHA
      sf-3819936
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 1    Waymo but not to Defendants as of the date of this disclosure. 3 Defendants reserve the right to
 2    supplement this list as additional facts are disclosed in discovery.
 3            Further, Defendants identify the following persons who may have knowledge of facts
 4    relevant to this suit:
 5            1. Any custodian of records or other person who may be required to establish
 6                 authenticity of documents;
 7            2. Any and all persons identified by Waymo in its initial disclosures; and
 8            3. Any and all persons whose depositions are taken, who provide written testimony in
 9                 this action, or who contribute to any response to the parties’ discovery requests.
10            Additionally, Defendants have retained and intend to retain expert witnesses to testify on
11    its defenses, including non-misappropriation of Waymo’s alleged trade secrets; the culture,
12    customs, and practices in the autonomous vehicle space; non-infringement; invalidity; forensic
13    investigations to locate the allegedly downloaded files; and lack of damages.
14            B.      DOCUMENTS, ELECTRONICALLY STORED INFORMATION, AND
                      TANGIBLE THINGS [Fed. R. Civ. P. 26(a)(1)(A)(ii)]
15
16            Defendants identify the following categories of documents, electronically stored
17    information, and tangible things in its possession, custody, or control that it may use to support its
18    defenses, unless solely for impeachment:
19            x    Documents concerning Defendants’ autonomous vehicle program;
20            x    Documents concerning Defendants’ design and development of LiDAR;
21            x    Documents concerning Defendants’ efforts to commercialize autonomous vehicle
22                 technology;
23            x    Drawings or photographs of Defendants’ LiDAR;
24
25    3
        As set forth in Defendants’ motion to compel (Dkt. 687), Waymo has refused to respond to
      interrogatories or produce documents fundamental to Defendants’ defenses, which Uber needs to
26    proceed with depositions. To date, Waymo has produced only 975 documents in response to
      Defendants’ first and second sets of requests for production, consisting of 162 document requests.
27    If and when Waymo fulfills its interrogatory response and document production obligations,
      Defendants will supplement these disclosures based on information not currently known to
28    Defendants.
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
      Case No. 3:17-cv-00939-WHA
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 1             x     Prototypes (or components of prototypes) of Defendants’ LiDAR;
 2             x     Documents concerning Defendants’ hiring process, including hiring agreements;
 3             x     Documents concerning Uber’s acquisition of Ottomotto;
 4             x     The Asserted Patents, their prosecution histories, and prior art to the Asserted Patents;
 5             x     Documents in the public domain relating to Waymo’s purported trade secrets;
 6             x     Documents concerning third-party suppliers of LiDAR components; and
 7             x     Waymo’s filings, submissions, applications, or certifications made to public entities
 8                   pertaining to the use of lasers in autonomous vehicles.
 9             To the extent the above-identified documents are within the possession, custody, or
10    control of Defendants, such documents are generally located at Defendants’ offices at
11    1455 Market Street, San Francisco, CA 94103.
12             Defendants’ search for documents is ongoing, and Defendants reserve the right to
13    supplement this disclosure under Federal Rule of Civil Procedure 26(e)(1). Defendants may also
14    rely on documents produced by any party and third party to this litigation, including Defendants

15    themselves and Waymo.
16             Defendants reserve the right to object to the production of any documents described herein
17    on any basis permitted by the Federal Rules of Civil Procedure.
18             C.       COMPUTATION OF DAMAGES [Fed. R. Civ. P. 26(a)(1)(A)(iii)]
19             Pursuant to Fed. R. Civ. P. 26(a)(1)(C), Defendants may seek attorneys’ fees and costs in
20    defending this action, but are unable at this time to estimate the amount.
21             D.       INSURANCE AGREEMENTS [Fed. R. Civ. P. 26(a)(1)(A)(iv)]
22             Defendants are currently unaware of any insurance contracts applicable to any claim in
23    this action.
24                                               CERTIFICATION
25             To the best of my knowledge, information and belief, formed after an inquiry that is

26    reasonable under the circumstances, this disclosure is complete and correct as of the date set forth
27    below.
28
      DEFENDANTS’ UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S SUPPLEMENTAL INITIAL DISCLOSURES
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 1
      Dated: August 31, 2017                     MORRISON & FOERSTER LLP
 2
 3
                                                 By:       /s/ Arturo J. González
 4                                                     ARTURO J. GONZÁLEZ
 5                                                     Attorneys for Defendants
                                                       UBER TECHNOLOGIES, INC.
 6                                                     and OTTOMOTTO LLC
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